
62 So. 3d 57 (2011)
In re Joseph A. KOTT.
No. 2008-OB-2174.
Supreme Court of Louisiana.
May 18, 2011.

ORDER
Considering the "Termination of Conditional Admission" filed by the Office of Disciplinary Counsel,
IT IS ORDERED that the probationary period imposed by this court in In re: Kott, 08-2174 (La.12/12/08), 995 So. 2d 1211, be and hereby is terminated, as the court finds petitioner has successfully complied with all terms of probation.
/s/ Bernette J. Johnson
/s/ Justice, Supreme Court of Louisiana
GUIDRY, J., recused.
VICTORY, J., dissents.
